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 4
 5   Attorney for Defendant
     Jana Catherine Broddie
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           ) CASE NO. 1:12-CR-40 LJO
                                         )
12       Plaintiffs,                     ) DEFENDANT’S NOTICE OF WAIVER
                                         ) AND PERSONAL APPEARANCE;
13   vs.                                 ) ORDER THEREON
                                         )
14                                       )
     JANA CATHERINE BRODDIE,             )
15                                       )
         Defendant.                      )
16   ____________________________________)
17
            Defendant, JANA CATHERINE BRODDIE, waives her right to be present in open
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     court, upon the hearing of any motion or other proceeding in this cause, including but not
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     limited to, when the case is ordered set for trial, when a continuance is ordered, and when any
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     other action is taken by the Court before or after trial, except upon arraignment, plea,
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     impanelment of jury and imposition of sentence.
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            Defendant hereby requests the Court to proceed during every absence of hers which the
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     Court may permit pursuant to this waiver; agrees that her interests will be deemed represented
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     at all times by the presence of his attorney, ROBERT L. FORKNER, the same as if the
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     Defendant was personally present; and further agrees to be present in person in Court ready for
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     trial any day and hour the court may fix in his absence.
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 1            Defendant further acknowledges that she has been informed of her rights under Title
 2   18, United States Code, Sections 3161-3174 (Speedy Trial Act), and authorizes her attorney to
 3   set times and delays under the Act without Defendant being present.
 4
 5   Dated: 6/26/12                                /S/ Jana Catherine Broddie
                                                  JANA CATHERINE BRODDIE
 6                                                DEFENDANT
 7
     Dated: 6/26/12                               /s/ Robert L. Forkner
 8                                                ROBERT L. FORKNER,
                                                  Attorney for Defendant
 9
10
     The defendant’s request is GRANTED.
11
12   IT IS SO ORDERED.
13
     Dated:       June 29, 2012                         /s/ Lawrence J. O’Neill
14                                                 UNITED STATES DISTRICT JUDGE
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